 

 

 

EXHIBIT A

 

 

Case 2:18-cV-03961-RK Document 1-1 Filed 09/13/18 Page 2 of 2

.u:ov_uucu gm vco:a \_:o> co z >m_n_m=u ._o 905 <mv_H _muo_ ._:o> 3 z mata `:on_:ou ._:o> Ewo_uw._ o._.

lllllllllllllllllllllllllllllll
.mHoN .>.m mEBm>m <m_v: §§ ©

.m=Bwn L£ w\_Bm mom .>_anm >mE mco_n%cou nam mccoy _mcor=u_u< .mu\_mv §U <mv: wo wmmc~:_,_a m£ ._o
mmmmru\__.a m:£>ml_a co _E_m> uoz .~mv:m_>_ voon_ cm%m>>m Lo Em§mu_mwm <m_v= w%. § Lo Lwto wu_€mm mcEcmE cmcu§ _mzu_>%£ >.=_>_E
<mv= `Ewto uoon_ <m_v= wle umw m§v_ \_o mci L£ umw `mmu._>\_wm <mv= ¢mto ~cw>m cwru§ <mv= co E_m> Hoz .w\_mto U:no\_a >.E>_<H_ <mv=
535 _Bc:oum% \_o 9th <m_v= 550 £_>> umc_n&ou mg ubcch .>>m_ >n uBEEoE Lo coru:m w§_co cm:E£ u_om `n_oww\_ `uwt£w:mb
€miou `UEB_Q h__ Eo> .wwmcu\=.§ b_o mci wm nw~cmmm\_n mg ~m:E >Qou qu.ruw_m l_o coa:ou UBE\& .m:_m> cwmu oz .>_co mm._opm m3 5
E_m> .m:__ccm; mgm mc_n_afm mgm xB 8 §§ ,._QV_B on ___>> 258me .n_or_wm:o; 6a uc:oum_u m:O .wHoN _NN _:Q< - HN __E< E_m> toto

owen _.ooov _,ooocvw

XB m\_ou_wn_ m\_oE Lo om: u_o mmm_(_u\__,_n_ m

*o mNH

pmm nam m\_Bm @<m_v= _muo_
\_:o> op coasou m_£ mc_\_m_

 

